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            Exhibit 353
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·9· ·DISSECTING THE ELECTRONIC STEAL
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·1· · · · · · DR. DAVE JANDA:· I'm Dr. Dave Janda.· Welcome
·2· back to the Insider Insight Show.· I am honored to have
·3· with me someone who I've admired for many years.· He is
·4· truly not only a renaissance man, but an incredibly
·5· courageous, giving patriot.· His name is Patrick Byrne.
·6· · · · · · Now, let me give you a little background on
·7· Patrick.· He's an American entrepreneur, an icon in
·8· the business world who was a CEO of Overstock.com.
·9· Patrick became known as a fierce advocate for the
10· rule of law and searching out fraud, identifying it
11· and doing something about it.· For example, Patrick
12· became known for his campaign against illegal naked
13· short selling.· Patrick and security regulators
14· revealed illegal naked short selling that had been
15· used in violation of securities laws to distort
16· prices of public companies and stock in harming not
17· just the billionaires of the world, but the moms and
18· pops of the world and their retirements.
19· · · · · · Now Patrick currently has dedicated his
20· efforts to help save our republic.· He has brought
21· together a team to work on dissecting the election
22· fraud which occurred on November 3, 2020 and in
23· previous elections.· It's my honor to welcome Patrick
24· Byrne.
25· · · · · · Patrick, I thank you for your service to


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·1· our country and the world.
·2· · · · · · PATRICK BYRNE:· Dr. Janda, it's an honor to be
·3· on your show.· I was just telling you how I've come
·4· across it many times and (inaudible) see how smart you
·5· are.· It's such an honor to be on your show.
·6· · · · · · DR. DAVE JANDA:· I'm so happy you just said
·7· that because I'm going to share it with my kids.· It's a
·8· wonderful early Christmas gift.· So Patrick --
·9· · · · · · PATRICK BYRNE:· Before you go on, do they
10· think sometimes you're not the smartest guy in the
11· world?
12· · · · · · DR. DAVE JANDA:· Well, initially until I've
13· actually been proven right, so it all works out.
14· · · · · · PATRICK BYRNE:· I was going to say, there's a
15· great Mark Twain quote where Mark Twain said when I was
16· 16 I thought any father was the most foolish man on
17· earth, but when I was 30 I was surprised at how much
18· he'd learned.
19· · · · · · DR. DAVE JANDA:· Well, I'd like to think
20· they're at that point, but we'll see.
21· · · · · · So Patrick, let's dissect.· Let's go.· The
22· team you've assembled, what you're working on, the
23· findings, where you're going because there's this
24· narrative out there, Patrick, as you know through the
25· bought off mainstream fake media, oh, all this stuff


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·1· about vote switching and their problems with it,
·2· that's all conspiracies theory.· Take it, Pat.
·3· You're the expert.
·4· · · · · · PATRICK BYRNE:· Okay.· Look, I built a two
·5· billion dollar E-commerce company from scratch.· I was
·6· the national entrepreneur of the year.· I know something
·7· about technology.· Listen to me or you can listen to
·8· some, you know, government official with a title or some
·9· reporter who needs help, you know, tying his shoes in
10· the morning.
11· · · · · · This stuff, from a security point of view,
12· this election machinery, especially Dominion's, is a
13· joke.· On a scale of one to ten I asked some hackers
14· how would you rate it in terms of difficulty to hack,
15· and their answer was two, maybe one.· It is easier to
16· hack than Paypal or Venmo by a country mile.· This
17· election was, in fact, rigged.· It was not rigged in
18· ways that the public or the journalists are familiar
19· with or understand.· It was rigged in a way you
20· couldn't have done before everything got so
21· electronic and this -- the rigging was not, and don't
22· puke over your shoes.
23· · · · · · By the way, I'm a libertarian.· I'm not a
24· Republican, a small L libertarian.· You can see my
25· bitcoins not bombs on my shirt.· I did not vote for


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·1· Donald Trump the first time nor the second time.
·2· I've never voted for a Republican or a Democrat.· I'm
·3· in this because this is about the Constitution.· If
·4· this is allowed to stand, it's over for our country.
·5· · · · · · This election was completely rigged.· The
·6· Democrats are correct, it was not widespread.· It was
·7· very intelligent, whoever designed it.· They picked
·8· five, arguably six places, but I'm just going to
·9· speak to five really, and they were Atlanta, Philly,
10· Milwaukee, Detroit and Maricopa, and they rigged --
11· they were very clever.· They realized you don't have
12· to steal the nation's election, you don't have to
13· cheat everywhere.· You've just got to cheat like
14· crazy in those five places.· Those five places
15· flipped the states that they're in.· Those five
16· states more than flipped the country.· So really, to
17· steal the nation they needed to steal five counties
18· and those -- they went full on goon in those counties
19· and did this outrageous stuff, gooning, you know,
20· having muscle goons go up and drive out poll watchers
21· and shutting the polls down in the middle of the
22· night and putting newspapers over -- all this goon --
23· it's scofflaw stuff.· It's somebody who's not even
24· trying anymore to pretend they're following the law.
25· They realize if you do it those five places you can


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·1· flip the whole election, and that's what they did.
·2· · · · · · The evidence for this is overwhelming.                I
·3· mean, It's super conclusive.· It's silly for anyone
·4· to deny it.· All they can do at this point is spin
·5· and try to distract the public.· It's overwhelming.
·6· How do I know that?· Do you want to know how I know
·7· that, Doctor?
·8· · · · · · DR. DAVE JANDA:· We sure do.
·9· · · · · · PATRICK BYRNE:· And I'll go into more details.
10· How I know this, I've been funding since July, August a
11· team of cyber hackers, very professional hackers,
12· ethical hackers, cyber security companies, outside
13· investigators and people of different kinds and had this
14· completely -- we had this complete reverse engineered.
15· We knew it was going to happen, and a question that will
16· have to be addressed some day is why did the DHS, and in
17· particular CIES, C-I-E-S.· We had connections into them,
18· had briefings arranged.· CISA refused to show up for the
19· briefings.
20· · · · · · DR. DAVE JANDA:· Interesting.
21· · · · · · PATRICK BYRNE:· Now, going forward -- yeah,
22· real interesting.
23· · · · · · DR. DAVE JANDA:· And in fact, the CISA
24· director, Krebbs, has since been fired this past week.
25· · · · · · PATRICK BYRNE:· Yeah.· And he got fired after


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·1· he came on a week before saying this is the most --
·2· · · · · · DR. DAVE JANDA:· Right.
·3· · · · · · PATRICK BYRNE:· -- you know, secure election
·4· in history.· Just so you know, he's a lawyer.· He's a
·5· lawyer from Microsoft.
·6· · · · · · DR. DAVE JANDA:· Right.
·7· · · · · · PATRICK BYRNE:· That man knows as much about
·8· computer security as I know about your profession,
·9· Doctor.
10· · · · · · DR. DAVE JANDA:· Although you've had 113
11· operations.
12· · · · · · PATRICK BYRNE:· Yeah, and you do learn -- I
13· was explaining to the doctor before we went live, he's a
14· surgeon.· I've had 113 surgeries.· The most recent one
15· was this July.· I had a tumor removed off my spinal
16· cord, which explained why my left leg had stopped
17· working over four months.· So anyway, he has no business
18· saying that.· It absolutely was rigged.· I'm going to
19· give three buckets to understand.
20· · · · · · DR. DAVE JANDA:· Let's hear.
21· · · · · · PATRICK BYRNE:· Is this cool?
22· · · · · · DR. DAVE JANDA:· Perfect.
23· · · · · · PATRICK BYRNE:· Bucket number one is the
24· functionality built into these systems, especially
25· Dominion.· And by now everyone knows the story that


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·1· the -- it was Hugo Chavez who wanted some election
·2· software built that he could goon, and it was built and
·3· designed so at the precinct level, precinct
·4· administrators and every little precinct can play all
·5· kinds of games and have privileges that go far beyond
·6· what you think a precinct administrator should have.
·7· And by that I mean, you know, I can understand the
·8· administrator's got to be able to set up a new account
·9· and passwords.· But the administrators in these systems
10· have the ability to move votes, drag and drop a thousand
11· votes at a time or more to anyone they want.· There's
12· all kinds of flaws like that.· No election system should
13· have that kind of administrator privileges.
14· · · · · · Another thing I don't want to omit because
15· nobody's getting this in the press, but along those
16· same lines, and that's one of like ten different ways
17· these Dominion systems can be beaten.· But
18· importantly, and you've got to look this up, there's
19· a type of malware called Q Snatch and it steals your
20· credentials.· It snatches your credentials.· Q is all
21· over Dominion servers.· There's an article online
22· from a couple weeks ago estimating 75 servers are
23· infected with Q Snatch.· What that means is every
24· time an administrator logs on or any poll worker, the
25· credentials are getting snatched and sent out on the


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·1· dark web.· Some miscreant can buy them or some guy
·2· sitting in Cyon, China can buy them.· And so not only
·3· does that precinct administrator of some little
·4· neighborhood precinct in Maricopa have what I would
·5· say far too high powers to shift votes around within
·6· his or her precinct.· But in addition, once they're
·7· credentials get snatched, somebody sitting over in
·8· Belarus or China can come in and also has those same
·9· privileges.· That fact alone is determinant, is
10· decisive.· Anything that ran Dominion software that
11· has Q Snatch malware on it should be disqualified.
12· No one has any reason to believe those votes just
13· from that simple fact.
14· · · · · · In addition -- so we can come back and go
15· into more details about bucket number one, but this
16· is the kind of stuff in bucket number one.
17· · · · · · DR. DAVE JANDA:· Got it.· Bucket two.
18· · · · · · PATRICK BYRNE:· Bucket two is the lived
19· experiences of various people who voted, worked in or
20· worked in these precincts, or some postal workers.· And
21· we have hundreds of affidavits, detailed affidavits at
22· this point recounting really odd experiences.· Like in
23· Maricopa, they were continuously told oh, don't use a
24· pen, get rid of your pen and they were given Sharpies.
25· Well, you know, and then there's a question of why's


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·1· that.
·2· · · · · · And then the third bucket is the
·3· statistical macro results which display
·4· irregularities one would expect.· You know, they're
·5· not just quadrillion to one.· And you're a scientist
·6· or a doctor so I can speak in these terms.· The
·7· chances of, even if you picked an area that was
·8· 96 percent Biden, the chances that you would have, if
·9· you picked a hundred people you would have a hundred
10· votes for Biden are 1.6 percent.· If you picked a
11· thousand people, the chance that all thousand people
12· would vote Biden are -- it's 1.8 times ten to the
13· minus 18th, so it's something in the quadrillions, or
14· I think a hundred quadrillion to one that that could
15· ever happen.· You'd have a thousand in a row.· The
16· chance that you would ever have 123,000 in a row are,
17· you know, it's quadrillions.· I forget what's beyond
18· quadrillions.· It's you know, astronomically against
19· that could ever happen, and here's the key point.
20· · · · · · These three buckets line up perfectly, so
21· let me walk through one example and you'll see how
22· it -- in Maricopa County, the day of the election, up
23· until the election everyone was told to use ball
24· point pens.· The day of the election the workers were
25· told to get all the ball point pens put of the place,


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·1· and cartons and crates of Sharpies were brought in,
·2· and everyone was told use Sharpies.· And everyone was
·3· told I was trying to use a pen.
·4· · · · · · Why they were told to use Sharpies is this,
·5· going back to bucket number one.· This Dominion
·6· software was built as follows.· If someone comes up
·7· and enters a ballot and the machine finds it
·8· difficult to read, it gives you a warning sign.· You
·9· have the option to hit the green button.· The green
10· button says well if you can't read it, it will go
11· into the pile to be adjudicated, and you just think
12· at the end of the day a bunch of judges are going to
13· go look at it like the old hanging chad stuff, and
14· what you think.
15· · · · · · Instead, what really happens is if you hit
16· that green button, all your vote goes to a pile, a
17· pile waiting to be adjudicated, but it really just
18· creates like a pool of votes that the precinct
19· administrator or administrators can come by and drag
20· and drop to whatever candidate they want to drop
21· them.· So it has that functionality, and lest anyone
22· denied that, open the instruction manual, download
23· and open the instruction manual.
24· · · · · · DR. DAVE JANDA:· It's right there.
25· · · · · · PATRICK BYRNE:· So you've got that


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·1· functionality.· You have this inexplicable thing where
·2· these people who voted in Maricopa report this very
·3· strange phenomenon about how aggressively they were
·4· hassled about using a ball point, and you have to go to
·5· Sharpies.· And they say when you fill it out with a
·6· Sharpie, I'd go up, some little old lady goes up to feed
·7· her vote into the machine, gets this warning sign.· The
·8· precinct worker says oh, madam, this probably doesn't
·9· mean anything.· Just hit the green button.· It will go
10· into a pile and someone will look at it later and
11· decide.· She doesn't know.· She hits the green button.
12· That thing happened.· She just gave her vote to whoever
13· the administrator of that precinct is or whoever back in
14· Cyon has stolen the credentials of the administrator of
15· that precinct.
16· · · · · · And then the third bucket is you look at
17· the statistical results, and you have things like
18· thousands of votes running through all for Biden, and
19· all being uploaded or all being processed at a much
20· faster speed than the vote tabulating machines could
21· actually read the ballot themselves.· So I'd say that
22· those three items of knowledge dovetail beautifully.
23· The systems were built with the functionality to do
24· this thing I just said.· The people who went in and
25· voted and experienced it, and some of the poll


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·1· workers have given affidavits that confirm it that
·2· any were told, get pens out of everyone's hands.· You
·3· get them to use Sharpies.· So those two things
·4· dovetail together.· And then third, the results that
·5· came out of Maricopa in ways display the statistical
·6· oddities that are quadrillions to one against.· So
·7· all those things marry up to make me go out on a limb
·8· and say this Dominion software was built so the
·9· election officials could use it to cheat.· The
10· experience of the workers coincides with if it was
11· being used to cheat, what would the people who go in
12· and vote and work in the precincts experience.· It's
13· exactly what they describe in the affidavits, and the
14· election results come out with quadrillion to one
15· oddities within them that you can't really explain,
16· and all three of those things just dovetail.
17· Immediately obviously that this happened.· And that
18· same story is tellable in each of those five places,
19· and really Awesome in Clark County, Nevada.
20· · · · · · DR. DAVE JANDA:· Well, I'm based in the
21· people's republic of Ann Arbor.· We're in Wayne County
22· here.· Just 30 miles down the road is Detroit and Wayne
23· County, which is one of the centers that you spoke
24· about.· And you're right Patrick.· People around our
25· country right now and the bought off mainstream fake


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·1· media want everybody to concentrate on well, the dead
·2· people vote, on the ballot stuffing vote.· Okay.· That's
·3· part of it, but where the real money is, Pat, is on this
·4· electronic side, and they want to say -- Pat, this is
·5· what they're pushing.· There's no evidence, there's no
·6· truth to it, there's conspiracy theory that these people
·7· that are talking about this are whack jobs.· Pat --
·8· Few tear be this are speak spoons then the.
·9· · · · · · PATRICK BYRNE:· (Inaudible).
10· · · · · · DR. DAVE JANDA:· Oh, they're still on that,
11· Pat.· They're drilling that.· They're drilling that hard
12· today and the other day.· I mean, they're not stopping,
13· and I can only assume that we're over the target when we
14· talk about this.
15· · · · · · PATRICK BYRNE:· Well, you're right.· Well
16· said.· Yeah.· It silly to even be saying that.· I don't
17· even want to waste my time with any journalist who has
18· that point.· It's just silly.
19· · · · · · DR. DAVE JANDA:· One of the things we outlined
20· on our platform, General Tom McInerny, three star
21· general retired came on our platform two days before the
22· election and spoke about how the deep state was going to
23· try to steal the election by using a hacking system, and
24· particular a system that had been circled around the
25· world called Score Card.


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·1· · · · · · PATRICK BYRNE:· I saw that interview.
·2· · · · · · DR. DAVE JANDA:· What was your impression?
·3· · · · · · PATRICK BYRNE:· I'm not aware independently of
·4· store card, so I cannot independently verify that, but
·5· everything he said jives with what I know.· You see,
·6· what happened, and your viewers should understand this,
·7· is that in 2018 the Dallas, Texas elections had
·8· irregularities in them, much like the irregularities
·9· we're now hearing about.
10· · · · · · The Texas state government hired a cyber
11· security group to investigate these odd facts about
12· the Dallas election that had been managed on Dominion
13· equipment.· That cyber security group went in and
14· discovered about ten different ways the systems could
15· be cheated, ten different ways in which the Dominion
16· stuff is garbage. And,in fact, Texas outlawed it in
17· Texas as a result off that.
18· · · · · · DR. DAVE JANDA:· They did.
19· · · · · · PATRICK BYRNE:· Although I understand it was
20· used anyway, but Texas outlawed it or made a reg against
21· it.· So that group was on it for two years and has two
22· years to reverse engineer the way to rig an election
23· using Dominion.· The rest of America has had two weeks,
24· three weeks to understand it.· They had two years.
25· · · · · · I've started -- they and another cyber


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·1· security group, I started getting involved with it
·2· and funding back in the middle of the summer and kept
·3· this going and hired other hackers and hired other
·4· people that were needed, and we had the whole thing
·5· mapped out just what they were going to do, so much
·6· so that that's why we went to the DHS and CISA, and
·7· they refused -- a meeting was scheduled and a special
·8· room reserved for it, and the CISA people whose job
·9· is to oversee this refused to attend the meeting.
10· How odd.
11· · · · · · DR. DAVE JANDA:· How criminal.
12· · · · · · PATRICK BYRNE:· Well, all these people.· Yeah,
13· yeah.· You know, if you have a Microsoft lawyer over
14· this kind of stuff, you get what you deserve because
15· lawyers, they don't know any of the actual technology,
16· but they're top sheeters, they're top sheeters.· They
17· don't really understand them, but below them it's just
18· filled with all kinds of -- the number of people that
19· had to looked the other way for this stuff to happen is
20· unreal.
21· · · · · · DR. DAVE JANDA:· Patrick, how can folks
22· following your efforts on this election matter and your
23· teams' because it is critical to the future of our
24· country?
25· · · · · · PATRICK BYRNE:· Not, I have a website called


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·1· Deep Capture that I used when I took on Wall Street 15
·2· years ago.· It was largely dormant until after I kind of
·3· proved to be right.· In '08, '09 I kind of let it
·4· dormant.· In the least year I reactivated and started
·5· publishing stuff because I was involved in other matters
·6· that I've exposed on there.· And I have started to put
·7· up and will do so today.· I'm going to stop since all
·8· these idiots are screaming where's the evidence, where's
·9· the evidence.· I didn't even know anyone was still
10· there, but I've been kind of really learning today they
11· are.· I've just decided I'm going to go up tonight and
12· just start posting all kinds of things.
13· · · · · · The lawyers will get furious because
14· lawyers all want to be like this.· I'm putting it out
15· to the public.· I'm· going to start posting
16· information.· I've got one more interview after this,
17· and then I'm going to start posting hard data,
18· graphs, everything the public needs.
19· · · · · · DR. DAVE JANDA:· And that's DeepCapture.com?
20· · · · · · PATRICK BYRNE:· DeepCapture.com.
21· · · · · · DR. DAVE JANDA:· Patrick, I'd like to thank
22· you for everything you have done, are doing and will do.
23· You know, my dad's favorite statement was dream big and
24· dare to fail, and Patrick Byrne, you are the epitome of
25· that statement, and I thank you, and every American


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·1· benefits from your efforts.
·2· · · · · · PATRICK BYRNE:· Thank you, Doctor.· It's an
·3· honor to be on your show.· Have me back anytime.
·4· · · · · · DR. DAVE JANDA:· You got it.· Thanks, Pat.
·5· · · · · · PATRICK BYRNE:· Take care, sir.
·6· · · · · · (End of recording.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

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11· · · · · · Dated this 21st day of July, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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